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         IN MARYLAND:

                       THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY




         MANUEL ALLSTON                                )
         Private Individual                            )
         PO Box 230                                    )
         Brandywine, MD 20613

                              Plaintiff,
                                                       )
                                                       )
                                                       )
                                                                  Civil CaseNo.C,4-c,~o -                  '~°' q                            3
                                                       )
         Vs                                            )
                                                       )
         Kendra Ross (Daughter)                        )
         Private Individual                            )
         782 Saxon Court                               )
         Charlottesville, VA 22901                     )                                                                     .   :.. ( )
         Ward of:                                      )
                                                                                          ,:::                  -''
         Gillian Chadwick                              )
                                                                                          C:,
         Washbum University School of Law              )                                  c,
         1700 SW College A venue                       )
         Topeka, KS 66621                              )
                                                                                                         .· .....-;
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                                                                                                                                       ~


         And                                           )                                                                 ·-'
         MCGUIREWOODS LLP                             )
         Elizabeth A. Hutson, Jonathan T. Blank       )
         Katlyn Farrell, Benjamin P. Abe              )
         2001 K Street NW, Suite 400                  )
         Washington, DC 20006                         )
         As her residence is under protection         )
          the above is being served on her behalf.    )                            :·..:i1::..rt; f':A1 .:-•i1·-i~t-i=;::~
                                                      )                           f:if•· !:~ f:fr:.:;~ /~'RH :~_:~
                                                                                   :":t~i ~] Fh•~t F~~F-
         Cheryl Ross (Mother)                          )                          rd1 f :- 1:·~~1 ~;·h\/
         Private Individual                           )                           ;:IF - NF~ f:(~11
                                                                                                                                     --:li.. !i::,;
         3547 Spottswood Ave.                         )                                                                                : ~. ' ... r::.


         Memphis, TN 3 8111                           )
                                                      )
                              Defendant(s)            )




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                                         COMPLAINT



          BREACH OF CONTRACT AND MEMORANDUM OF AGREEMENT

                                       BY DEFENDANTS

                     DEFAMATION, LIBEL, SLANDER, OR SIMILAR



Memorandum of Agreement under a contract and Legal Definition: A Memorandum of

Agreement ("MOA''), also known as a memorandum of understanding, is a fo1111al business

document used to outline an agreement made between two separate entities, groups or

individuals.




       I, Manuel "last name of Allston" being a private individual and a member of the

C01rununity known as the United Nation of Islam at one time, and member of the Value Creators

at one time and member of the Promise Keepers set forth this claim of injury caused by Kendra

Ross in her capacity as a private individual, and her birth parent (Mother), Cheryl Ross in her

capacity as a private individual.




        That under the agreed contract of each individual of the community that when anyone

became a member of the cmrununity, they were infonned of the guidelines and tenns of the

existing conditions to live in the community (Whether in a Fulltime or Part Time capacity).




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     Those who choose to stay and live in the community agreed to the tenns of the contract, if you

     refuse to live by the tenns of the contract then you were free to leave.

            Today you have similar in Housing Association volunteer services for State and Federal

     Agencies.



              Agenda 21 is one of several global plans of action designed to create a coalition of

     govemment, business, and non-govennnental organizations (NGO's) under the auspices of the

     United Nations. When fully operational, this system of Global Govemance will command a One

     World Court, a One World Anny, a One World Media, etc. All working in lock-step to gain total

     control over all human activity and all of the Earth's wealth.



              Below are fonner living and work agreements made by those who choose to work and

     live within these communities in the United States and these communities were not called a

     "cult." From the 1900 up until the early 1950's many workers/employees, especially those in the

     mining and logging industry, were paid in a fonn of currency issued by their employer known as

     company scrip.



                                     Example of Similar Agreements

     Company sc1ip is scrip (a substitute for government-issued legal tender or currency)

     Lumber company scrip in Wisconsin, for example, forest-products and lumber companies were

     specifically exempted from the state law requiring employers to pay workers' wages in cash.

     Lumber and timber companies frequently paid their workers in script, which was redeemable at

     the company store. Company-run stores served as a convenience for workers and their families,




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            but also allowed the companies to recapture some of their labor expenses. In certain cases,
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            employers included contract provisions requiring employees to patronize the company stores.

            Employees who wanted to change their scrip to cash generally had to do so at a discount.



             Coal scrip is "tokens or paper with a monetary value issued to workers as an advance

            on wages by the coal company or its designated representative". As such, coal scrip could only

            be used at the specific locality or coal town of the company named. Because coal scrip was used

            in the context of a coal town, where there are usually no other retail establishments in that

            specific remote location, employees who used this could only redeem their value at that specific

            location



            Gamification describes the incentivisation of people's engagement in non-game contexts and

            activities by using game-style mechanics. Gamification leverages people's natural tendencies for

            competition, achievement, collaboration, and charity. Tools employed in game design, such as

            rewarding users for achievements, "leveling-up," and earning badges, are carried into the real

            world to help motivate individuals to achieve their goals or boost perfonnance.


            There are many examples of gamification, the most well-known perhaps being frequent flyer

            rewards programs offered by airlines. The important measurable metrics of success from

            gamification include the level of engagement, influence, brand loyalty, time spent on an activity,

            and the game's ability to go viral.


            Homeowners' Association Sample Rules A written contract of a group of property owners,

            typically condominium owners, describing their joint ownership obligations and rights. The




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       association agreement usually allows members to approve new owners before a sale, and gives

       the light to charge each resident for agreed upon building operating expenses.




       In the United States, a homeowner association (or homeowners' association, abbreviated HOA,

       sometimes refen-ed to as a property owners' association or POA) is a piivate association often

       fanned by a real estate developer for the purpose of marketing, managing, and selling homes and

       lots in a residential subdivision. Typically the developer will transfer control of the association to

       the homeowners after selling a predetennined number oflots. Generally any person who wants

       to buy a residence within the area of a homeowners association must become a member, and

       therefore must obey the governing documents including Articles of Incorporation, CC&Rs

       (Covenants, Conditions and Restiictions) and By-Laws, which may limit the owner's



       A cooperative agreement is a legal agreement between the federal government and any other

       entity. A cooperative agreement occurs when the federal government transfers something of

       value, usually money, to a state govenunent, municipality or piivate company for a public

       purpose. In a cooperative agreement, substantial interaction goes on between the federal

       government and the other party.


       31 U.S. Code§ 6305. Using cooperative agreements


       An executive agency shall use a cooperative agreement as the legal instrument reflecting a

       relationship between the United States Govenunent and a State, a local government, or other

       recipient when-

       (1) the piincipal purpose of the relationship is to transfer a thing of value to the State, local

       government, or other recipient to can-y out a public purpose of support or stimulation authmized



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(•:;;   by a law of the United States instead of acquiring (by purchase, lease, or barter) property or

        services for the direct benefit or use of the United States Govenm1ent; and

        (2) substantial involvement is expected between the executive agency and the State, local

        government, or other recipient when canying out the activity contemplated in the agreement.



                                   LEGAL DEFINITION OF A VOLUNTEER



        29 CFR § 553.101 - "Volunteer" defined.

        (a) An individual who perfonns hours of service for a public agency for civic, charitable, or

        humanitarian reasons, without promise, expectation or receipt of compensation for services

        rendered, is considered to be a volunteer during such hours. Individuals perfonning hours of

        service for such a public agency will be considered volunteers for the time so spent and not

        subject to sections 6, 7, and 11 of the FLSA when such hours of service are perforn1ed in accord

        with sections 3(e)(4) (A) and (B) of the FLSA and the guidelines in this subpart.


        (b) Congress did not intend to discourage or impede volunteer activities undertaken for civic,

        charitable, or humanitarian purposes, but expressed its wish to prevent any manipulation or

        abuse of minimum wage or overtime requirements through coercion or undue pressure upon

        individuals to "volunteer" their services.


        (c) Individuals shall be considered volunteers only where their services are offered freely and

        without pressure or coercion, direct or implied, from an employer.


        (d) An individual shall not be considered a volunteer if the individual is otherwise employed by

        the same public agency to perfonn the same type of services as those for which the individual

        proposes to volunteer. ·




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             29 CFR § 553.100 General.

             Section 3(e) of the Fair Labor Standards Act, as amended in 1985, provides that individuals

             perfonning volunteer services for units of State and local governments will not be regarded as

             "employees" under the statute. The purpose of this subpati is to define the circumstances under

             which individuals may perfonn hours of volunteer service for units of State and local

             governments without being considered to be their employees dming such hours for purposes of

             theFLSA.




                                            THE MEMORANDUM OF AGREEMENT

                    When Cheryl Ross and her minor children Kendra Ross (and others) came to the

             community known as the United Nation oflslam in the year of 1995 when it was under the

             control of Royall "last name of Jenkins", Cheryl Ross had to go through a training course to

             ensure she was aware of what she was agreeing to.

                    The Contract Agreement, if Cheryl Ross agreed to be in a Full Time status and work

             within the community she would receive the following for herself and her children: housing,

             medical, food, clothing and schooling for her children including her Daughter Kendra Ross. To

             also receive training for job skills in other communities that could be located in other States if

             they choose to be part of the community.


                    This agreement was violated once Kendra Ross became the age of majority (18 years of
             age) and decided to leave the community; this is the identical contract that Cheryl Ross agreed to
             when Kendra Ross was still a minor under the jurisdiction and control of her mother.




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                   Additionally, Kendra Ross returned back to the community of the United Nation oflslam
            once she was oflegal age, of her own free will and maITied a Brother (a member named Nigel)
            within the community. After which Kendra Ross again decided to leave and return to the outside
            system outside of the connnunity. This is called free will.

                   A brief history of the United Nation oflslam under the guidance of Royall "last name of

            Jenkins" at the time Kendra Ross was a minor which is when all of her alleged claims have

            occmTed against this community.

                   Since 2010-2012 the United Nation oflslam has gone through troubled waters ofbeing

            hi-jacked by members who indentified the cash value of this community. This community was

            taken over, and then left to perish until the original members returned to reclaim what remained

            after the pillaging of the UNOI.

                   Kendra Ross' actions in 2017 were long after being out of the community (UNOI) and

            still under the memorandum of agreement/contract to which she has received the benefits while

            as a minor under {Mother} Cheryl Ross' jurisdiction.

                   Kendra Ross was never a member of the Value Creators or that of the Promise Keepers.

            But by her actions of claiming human trafficking and labor claims against the United Nation of

            Islam is a contract violation to the agreement of being a member.

                   The same memorandum of agreement/contract is the same with the Value Creators and

            Promise Keepers.

                   The suit against the communities/people has caused iITeparable damage against these

            communities/people.

                   The people of these communities have lost the right to work in the community, schooling,

            medical treatment from the community, food, housing etc.




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                                           IN THE UNITED NATION OF ISLAM



               1. Those in the community were compensated for their work with Company Script; which is

                  a substitute for government-issued legal tender or cmrnncy.



              2. Food, clothing, and shelter were among the necessities of each individual provided by the

                  community.



              3. My parents were full-time participants within the community of the United Nation of

                  Islam at the date of my birth on July, 31st, 1996. I went to the schooling system of this

                  community from 2002 to 2013. Throughout my participation in this c01mnunity, what I

                  experienced was protection, freedom and peace of mind. We were taught core values

                  such as: civilization, proper morals between man and woman, public speaking, and much

                  more. We didn't have an abundance of flashy clothing, homes, or vehicles. Despite that,

                  we prioritized the proper and civilized interaction between all people and things. I had the

                  pleasure of not experiencing, some would call, "temptations" of this world including

                  drugs, poverty, and unhealthy environments. Without the guidance of The United Nations

                  of Islam, I would not be the man I am today.



                               A SHORT BACKGROUND OF THE COMMUNITY



              4. The United Nation oflslam provided hands-on teaching, guidance, and instruction in

                  many necessities for life skills, and "trick-of-the-trade."




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              5. This includes, however, is not limited to: Medical, Culinaiy Arts, Auto-Mechanics,

                  Science, Math, Reading, Cosmetology, Sewing, Biodiesel production, Public Relations,

                  Audio and Video Production, agriculture, and horticulture.

              6. The United Nation oflslam was a stable entity not only in Kansas City, but also in many

                  other states and cities across the United States.



                      Examples of Non-Factual Statements and Slander from Kendra Ross



                  In Kendra Ross' complaint, she claims that the United Nation oflslam forced its

                  members to work in several of it's restaurants and businesses. This allegation is not tlue.

                  The United Nation of Islam, was legally fonned as a non-profit organization that directed

                  all finances aquired into the well-being of it's volunteers which received: food, clothing,

                  shelter, medical, schooling etc. and, into the people of the communities it served. (See the

                  YELLOW highlighted paragraphs of Exhibit A. Kendra Ross' vedfied complaint Pg. 14.

                  Lines: 51-54)).



                  2. In Kendra Ross' complaint, she claimed that the United Nation oflslam did not

                  provide health insurance to it's volunteers. She also claimed, the participants of The

                  United Nation of Islam were not pennitted go outside of the organization to aquire

                  medical assistance. Both of these allegations are false. The United Nation oflslam had

                 relationships with many local dentist offices, chiropractors, and medical centers. These

                  establishments allowed the patiicipants of The United Nation oflslam to be seen at

                  discounted rates. The participants of The United Nation oflslam were free to seek




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r-::             medical assistance at anytime for any reason they saw fit. Dr. Marvin MacIntosh was a
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                 legal and registered physician, and Member of The United Nation of Islam that

                 volunteered his services to assist the volunteers within The United Nation oflslam. Dr.

                 Marvin only serviced participants if their medical needs were in reach of his legal

                 certifications and education. If at any point the medical needs of the participants out-

                 reached Dr. Marvin's legal service and education; they were directed to a local and

                 licensed physician that were certified to work on the participant. (See the YELLOW

                 highlighted paragraph of Exhibit A. (Kendra Ross' velified complaint, Pg. 15, Line: 60)).



               I, Manuel Allston, being a private individual have lost the following because of the

                          negligence of the Defendants, Kendra Ross and Cheryl Ross:

             1. Education: Plior to the accusations of the Defendants, I received education in Culinary

                 Arts, Public Relations, Business Management, and Life Coaching; therefore, these

                 programs are no longer available from the communities because of the public accusations

                 from Kendra Ross.

             2. Financial:

                    A. I have personally lost financial investments in the community of the UNOI and

                        the communities of The Value Creators and Promise Keepers because of the

                        Defendants breach of contract.

                    B. Lost businesses in Baltimore, MD, New Haven, CT, Chicago, IL, Kansas City,

                        KS, and Atlanta, GA; which consisted of restaurants/catering, bakery, trucking,

                        construction and food product wholesaling.




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                 C. Loss of Bartle Accounts: Bank of America shutdown our business accounts and

                     funds were frozen and seized from the Value Creators.

                D. Wells Fargo froze our business accounts of The Value Creators.

                E. Lost revenue and potential revenue from Royall's Finest Coffee due to the

                     slanderous statements made by Kendra Ross in her filing of August 17th , 2017

                     "VERIFIED COMPLAINT" in the UNITED STATES DISTRICT COURT- a

                     product sample is enclosed and labeled as 'Evidence B' [Exhibit BJ.

                F. Lost revenue and potential revenue from Royall Essence tea beverage due to the

                     slanderous statements made by Kendra Ross in her filing of August 17 111, 2017

                     "VERIFIED COMPLAINT" in the UNITED STATES DISTRICT COURT- a

                     product sample is enclosed and labeled as 'Evidence C' [Exhibit CJ.

                G. Lost revenue and potential revenue from Royall Dressing salad dressing due to

                     the slanderous statements made by Kendra Ross in her filing of August 17 111, 2017

                     "VERIFIED COMPLAINT" in the UNITED STATES DISTRICT COURT - a

                     product sample is enclosed and labeled as 'Evidence D' [Exhibit DJ.

                H. Lost revenue and potential revenue from the Royall Touch eatery located in

                     Kansas City, KS due to the slanderous statements made by Kendra Ross in her

                     filing on August 17th , 2017 "VERIFIED COMPLAINT" in the UNITED

                     STATES DISTRICT COURT- business documents are enclosed and labeled as

                     'Evidence E' [Exhibit E].

                I.   Lost revenue and potential revenue from the Royall Touch cafeteria/catering

                     business in Baltimore, MD due to the slanderous statements made by Kendra

                     Ross in her filing on August 17th, 2017 "VERIFIED COMPLAINT" in the




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                            UNITED STATES DISTRICT COURT- business documents are enclosed and

                            labeled as 'Evidence F' [Exhibit F].



               7.   Security: Because of the human tracking allegations of the Defendants, the community

                    (influenced by national publications set forth by the Defendants), has made verbal threats,

                    and assaults which has compromised my sense of security and willingness to be a public

                    participant.



               8.   Friends and Family: From the accusations of the Defendants, friends and relatives no

                    longer will to entertain, nor build any fonns of relationships with myself.



               9. Housing: I have lost housing, and had to relocate to different fonns of housing because of

                    realtors choosing not to work with us because of the accusations against the communities

                    of both The Value Creators and The Promise Keepers.



                              ALL MEMBERS COME UNDER SIMILAR CIRCUMSTANCES

               1. Because of the slander and false allegations of Kendra Ross, it has gravely affected the

                    lives of many including, however is not limited to: Royall Jenkins, the members the

                    United Nation oflslam, The Value Creators, The Promise Keepers, and communities

                    across the United States.

               2. Royall Jenkins, being the fom1er spiritual head of the United Nation oflslam, has been

                    accused of human trafficking through false claims on national television, news networks,

                    local, and national news papers.




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               3. The fonner members of the United Nation oflslam, The Value Creators, and The
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                  Promise Keepers have received tlu·eats from their relatives and the community, because

                  the negligence and slander of the defendants.

               4. Also, because these organizations provided hands-on education and practices in fields

                  such as, Medical, Auto Mechanics, Culinary Arts, Science, and Public Relations; the

                  participants (including myself), have lost many of the above listed opportunities to gain

                  these skill sets.

               5. The members in many communities in the areas served by The Value Creators and The

                  Promise Keepers have received a distorted view of what these organizations provided and

                  therefore have been blackballing both organizations and causing discrimination.



                                            LAWS AND REGULATIONS

          As President George Washington stated, "To speak evil of anyone, unless there is unequivocal

          proof of their deserving it, is an injury for which there is no adequate reparation."

          @.      Fortunately, the state and federal laws prohibit this contemptible practice such as 2017

          KANSAS Statute Article 24. - REGULATION OF CERTAIN TRADE PRACTICES 40-2404.

          Unfair methods of competition or unfair and deceptive acts or practices; title insurance agents,

          requirements; disclosure of nonpublic personal information; rules and regulations.

          a.      2011 Kansas Code Chapter 21. - CRIMES AND PUNISHMENTS A1iicle 40. - CRIMES

          INVOLVING VIOLATIONS OF PERSONAL RIGHTS: 21-4004. Criminal defamation. (a)

          Criminal defamation is communicating to a person orally, in writing, or by any other means,

          infonnation, knowing the infonnation to be false and with actual malice, tending to expose

          another living person to public hatred, contempt or ridicule; tending to deprive such person of the




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      benefits of public confidence and social acceptance; or tending to degrade and vilify the mem01y

      of one who is dead and to scandalize or provoke surviving relatives and friends.


             (b)   In all prosecutions under this section the truth of the infonnation communicated

             shall be admitted as evidence. It shall be a defense to a charge of criminal defamation if it

             is found that such matter was true.


             (c)   Criminal defamation is a class A nonperson misdemeanor.


         c. Along with federal law 28 U.S. Code § 4101. Definitions: The tenn "defamation" means

             any action or other proceeding for defamation, libel, slander, or similar claim alleging

             that fonns of speech are false, have caused damage to reputation or emotional distress,

             have presented any person in a false light, or have resulted in criticism, dishonor, or

             condemnation of any person.

             To sustain a defamation claim, Maryland law requires a showing that: "(I) the defendant made a

             defamatory communication to a third person; (2) that the statement was false; (3) that the

             defendant was at fault in communicating the statement; and (4) that the plaintiff suffered harm."

             Samuels v. Tschechtelin, 763 A.2d 209, 241-42 (Md. Ct. Spec. App. 2000). Kairys v. Douglas

             Stereo Inc. 83 Md. App. 667 (1990) 577 A.2d 386




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~::· :::                                           IN CONCLUSION

               1. Between the years of2010-2012 the United Nation ofislam was taken over and Hijacked

                   by self-entitled members of the community that stole many assets within the United

                   Nation ofislam.

              2. Two and one half years later (2015), the community was governed again by the proper

                   supervisors of the community.

              3.   Therefore the lawsuit and false charges filed against Royall Jenkins (the one responsible

                   for the United Nation of Islam up to 2010), The Value Creators, and Promise keepers is a

                   defamation of character, and attack against the development of communities' across the

                   United States. This has caused the loss of assets and credibility of The Value Creators

                   and The Promise Keepers. This has also caused Defamation of Character to I, Manuel

                   "last name of allston", being a private individual and people of similar circumstances of

                   the community.

              4. As a result of the Defendants' misconduct, I, Manuel "last name allston" has suffered

                   significant emotional pain and suffering, for which I should be compensated in the

                   amount of$1,714,000 (One Million Seven Hundred and Fourteen Thousand Dollars) or

                   any other amount to be deten11ined at trial.

              5. THEREFORE, I, Manuel "last name Allston" respectfully requests that this Court enter

                   judgment against the Defendants on the damages listed above and award me at least

                   $1,714,000, plus prejudgment interest and all attorney's fees incurred in prosecuting this

                   action.

                                               JURY TRIAL DEMAND

                    I, Manuel "last name Allston" hereby demand a jury tiial on all issues so triable.




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                                             PRAYER FOR RELIEF

         WHEREFORE, I, Manuel "last name Allston" the Plaintiff respectfully demand judgment in my

         favor and against Defendants Che1yl Ross and Kendra Ross as follows:



         (I) Compensatory and special damages in an amount to be proven at trial;

         (2) Lost wages, including income from business product investments causing product name

         changes, credit damage, evictions, vehicle repossession and businesses closed in an amount to be

         proven at tdal;

         (3) Statuto1y penalties of$1,714,000 and liquidated damages.

         (4) Punitive and exemplary damages in an amount according to proof at the time

         Of trial;

         (5) Reasonable attorney's fees and costs.

         (6) Such other and further relief as the Court deems just and proper.




         Respectfully submitted,




         Manuel "last name of Allston"
         Pdvate Individual
         PO Box 230
         Brandywine, MD 20613




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                                                    AFFIDAVIT OF FACT


I, Manuel "last name Allston", am the plaintiff in the above-captioned action. I am and have been a resident

and Citizen of one of the states for the united states since my birth. I am twenty four (24) years of age and am of

sound mind and body to make this affidavit of fact. I have read the foregoing Complaint and fully understand

the factual allegations, and also understand the legal claims I am asserting in this action. I verify under penalty

of perjury that the entire foregoing claim is true and correct.



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                                          Date:·september 15 1\ 2020 at 1:47 pm east,

AFFIANT SIGNATURE:




NOTARY SIGNATURE:                                                 SEAL:




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NOTARY PRINTED FULL LEGAL NAME:



Acknowledgement:



STATE OF MARYLAND_ _ _COUNTY OF PRINCE GEORGE'S_ __



The foregoing instrument was acknowledged before me this 15th day of September, 2020 by Manuel David
Allston. Who is personally known to me or who has produced a valid state government identification card.

BreachofContractM.Allston.vs.K.RossC.Ross-9/14/2020
